                      Case 4:14-cr-00114-DPM                  Document 628              Filed 06/27/16          Page 1 of 10
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                                                                                                                             FILED
                                                                                                                       EAs-8.·8. 01~m1c1 C:dURT
                     Sheet 1                                                                                                 AN DISTRICT ARKANSAS

                                                                                                                        <   JON 2 7 2016
                                          UNITED STATES DISTRICT COURT ~esw.~. CLERK
                                                           Eastern District of Arkansas                          f·                       '
                                                                                                                                               0£.pc~
                                                                          )
               UNITED STATES OF AMERICA                                   )       JUDGMENT IN A CRIMINAL CASE
                                   v.                                     )
                        Wesley Kevin Stuart                               )
                                                                                  Case Number: 4:14-cr-114-DPM-19
                                                                          )
                                                                          )       USM Number: 28793-009
                                                                          )
                                                                          )        Robert Brannon Sloan Jr.
                                                                          )       Defendanfs Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)          1 of the Second Superseding Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
 21 u.s.c. §§ 846 &                 Conspiracy to Possess with Intent to Distribute and to

     841 (a)(1) & (b)(1 )(A)        Distribute Methamphetamine, a Class A Felony                             9/30/2014                    1



       The defendant is sentenced as provided in pages 2 through         __6___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      39--40                                Dis       Ill are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 da)'S of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defeni:lant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                          6/22/2016
                                                                         Date oflmpos1tion of Judgment




                                                                          D.P. Marshall Jr.                           United States District Judge
                                                                         Name and Title of Judge




                                                                         Date
                     Case 4:14-cr-00114-DPM                Document 628          Filed 06/27/16         Page 2 of 10
AO 245B (Rev. 10/15) Judgment m Criminal Case
                       Sheet 2 - Imprisonment

                                                                                                  Judgment- Page _2~- of      6
DEFENDANT: Wesley Kevin Stuart
CASE NUMBER: 4: 14-cr-114-DPM-19

                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  144 months, concurrent with the sentences Stuart is currently serving in the Arkansas Department of Correction in Greene
  County Circuit Court Case No. CR 15-721 and Greene County Circuit Court Case No. CR 11-430. (PSR ~~ 79 & 81.)



     it]   The court makes the following recommendations to the Bureau of Prisons:

  1) that Stuart participate in a residential drug abuse program, or non-residential programs if he does not qualify for RDAP;
  2) that Stuart participate in educational and vocational programs during incarceration, including a GED program; and
  3) designation to FCI Forrest City, or the available facility closest to Jonesboro, Arkansas, to facilitate family visitation.

    Ill The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
           D at                                               D p.m.     on

           D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                     to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL



                                                                         By ------------------~
                                                                                           DEPUTY UNITED STATES MARSHAL
                        Case 4:14-cr-00114-DPM                  Document 628             Filed 06/27/16           Page 3 of 10
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                             Judgment-Page           of
 DEFENDANT: Wesley Kevin Stuart
 CASE NUMBER: 4: 14-cr-114-DPM-19
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 5 years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any IJersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall Rermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
                    Case 4:14-cr-00114-DPM
AO 245B (Rev. I 0/15) Judgment in a Cmninal Case
                                                   Document 628         Filed 06/27/16       Page 4 of 10
        Sheet 3C - Supervised Release
                                                                                          Judgment-Page   _4:___ of    6
DEFENDANT: Wesley Kevin Stuart
CASE NUMBER: 4:14-cr-114-DPM-19

                                          SPECIAL CONDITIONS OF SUPERVISION
 S1) Stuart must participate, under the guidance and supervision of the probation officer, in a substance-abuse treatment
 program, which must include regular and random drug testing, and may include outpatient counseling, residential
 treatment, or both.
                     Case 4:14-cr-00114-DPM                    Document 628           Filed 06/27/16            Page 5 of 10
AO 245B (Rev 10/15) Judgment in a Criminal Case
         Sheet 5 - Cnminal Monetary Penalties
                                                                                                       Judgment -   Page        of         6
 DEFENDANT: Wesley Kevin Stuart
 CASE NUMBER: 4: 14-cr-114-DPM-19
                                                  CRIMINAL MONETARY PENALTIES
      Tue defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                         Fine                                Restitution
 TOTALS             $ 100.00                                           $ 0.00                              $ 0.00



 D Tue determination of restitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D Tue defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned P.ayment, unless specified otherwise in
      the prioricy order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

  Name of Payee                                                            Total Loss*        Restitution Ordered Priority or Percentage




TOTALS                               $                         0.00


 D     Restitution amount ordered pursuant to plea agreement $

 D     Tue defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     Tue court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the           D fine     D restitution.
       D the interest requirement for the          D   fine    D restitution is modified as follows:

 *Findings forthe total amountoflosses are required under Chapters 109A, 110, 1lOA, and l 13A of Title 18 foroffenses committed on or after
 September 13, 1994, but before April 23, 1996.
                     Case 4:14-cr-00114-DPM
AO 2458 (Rev. 10/15) Judgment in a Criminal Case
                                                                 Document 628              Filed 06/27/16            Page 6 of 10
        Sheet 6- Schedule of Payments
                                                                                                                Judgment - Page              of
 DEFENDANT: Wesley Kevin Stuart
 CASE NUMBER: 4: 14-cr-114-DPM-19

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     IZI Lump sum payment of$ _1_0_0_.0_0_ _ __ due immediately, balance due

            D      not later than                                  , or
            l;2j   in accordance         0    C,     D D,        O E, or         ~   Fbelow; or

 B     D    Payment to begin immediately (may be combined with                DC,          D D, or       D F below); or

 C     O Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D      O Payment in equal                             (e.g., weekly, monthly. quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     D    Payment during the term of supervised release will commence within                 (e.g.. 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     0    Special instructions regarding the payment of criminal monetary penalties:
             If Stuart can't pay the special assessment immediately, then during incarceration he shall pay 50 percent per
             month of all funds available to him until the assessment is paid in full.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal mone!_ary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Pa~ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, ( 4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
              Case 4:14-cr-00114-DPM             Document 628           Filed 06/27/16           Page 7 of 10
'
10/27/20L5 14:08 FAX      870 239 3550              GREE'.\E CO. C:J:<CtlT   CLEI~K                              [~051/0[i8




                         !N THE CiFICUiT COURT OF G~EENE COUNTY, ARKAP.JSAS
                                                  cm~JUNAL DIVISION



     S1'ATE OF A::ll<AMSAS                                                                                 PLAINTIFF
               v.                                    NO. CfVi:010- J...;~

     WF13lEY KEV5N STUART                                                                                  OEF::NOANT
                                                                                      FfL~D
     289 Q~3 931 Rd.
     P~n~ou~.AR 724~0                                                             SEP 1 D2010
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     oo:is :.t/30/Uitm
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     ClO     CIO-Jl-O!Si 17-10
     ATN    9173:12


                                                  INFORMATION

             Come:s tlv~ Proai-&c1.tJnu /,ttomey for GREENE C-0unty, Arkansas, and In th~ name and by th&
     authority of th"! ,:5ta!e of Ar~;an$as, ch?.rges WCJatftl-f l{l'lv!n St.u~.rrt with the crfma(s} of CRIMINAL
     ATTl:!MPT {CL.i\S$ /". 1ZELONY) ?~ANUf'Acnm.E OF A SCHEDULE n COPJTROLLEO SU:6STA.NC5
     (METHAMl"M~"f:A?1~;NE} •:1a fullo;..vs:

     COUNT 1: C?.l:\.~lNii.L ATi'E~P1' {CLASS;;.. FE.!..O'NY) M>i.NUFACTURE OF A$CHt:DULE II
     COITTitOLLED SUBSTANCE (#1CTH.~?HETAMHU:) ARK CODE ANN.§ S-6i-401. The nald
     d8fe-4ldant In GREENE COUNTY, dld unlawfully and te;cn)cusly on or about Auguf.t 3, 2010 $\tti:m;:it th<l
     crime of MANUFACTURE OF A SCHEDULE II CONTROLLED SUBSTANCE (METHAMPHETAMl~~E),
     thdmby committing tha offl'l'rtte of CRIMINAL AITErv1PT (CL.A.SS A FELONY) MANUFACTURE Of A
     SCHEDULE II CONTROLLED SUBSTANCE (METHA:'vlPHETAMJNE\ na!d offane• ~lng a CLASS A
     FELONY against the ~ac.<1 and dignity cf the Stat>J of A~ansa1:1.


     There eppesring reasonable grcurnfo tor be:lev!ng the alleged offtm~e(s) was rommltted by dsf(~m:gnt, ~
     v.<amtnt Is therefora prayed :or his arrest to be !ssuoo by the court.

                                           Ml.Qtl8J;J,,W/\!,.~N                    -·---·           '---·---
                                           Mlchael Walden, Prosecuting Attorney


                                           BY:g
                                                                                                             EXHIBIT

                                                                                                      I         j_
\                     Case 4:14-cr-00114-DPM                                   Document 628                        Filed 06/27/16                    Page 8 of 10
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     ·------------




                                                                                    Deft.ndant's Full Name; STlJAAT, WESLEY 1-Q!Y!N

                                                                JUDGMENT AND DISPOSITION ORDER
                                                     iN THE C!RCUIT COURT CF GREENE COUNTY, ARKANSAS
                                                          S:::COND JUDlCIAL DISTRICT, CRIMINAL PIVIS!ON

                 On 11fll201 'I the deiandant aw~arad bt:>fore the Court, was advised of th•l n<>tum of the chargat:(P), of conatro.rtlooal et.d
    !;.;.gal li9hta, of tha effect of a gulay p~a upon tno$(;1 rights, and of the right to maO(e a st.;ti;,me.nt t.efor& aantoncir:.g. The Court made th&
    followlng nndlngs:

    Defsrldanf& Fun Name ........................... :                 STUART, WE3LEY KEVIN
    Date Of Birth ........................................ :           S/3.0/1S6a                                                                                     FILED IN
    Race .................................................. :          WHITE                                                                                     OPEN COURT
    Sex .................................................... :         MALE
    $10# .................................................. :
    Defcndarrt'lll Attomay ............................. :
                                                                       AR5-WS87
                                                                       ~'JlLL KUETER
                                                                                                                                                                 NOV 0 7 20H
    Pl'OM!Cuting Attorney or Ce:p1.:ty ............... :               KIM~ER!.Y B. DALE

    Defencant was rttprasent&d by ................ :                     __ private counSt:J!              _ a;:ipolnlad couri•!ll
                                                                         _x_ public defender               __ hlmwlf1hflrl6!f
    Defendant made a voh..:ntary, kncwlng arid lm;;;,!1!.;:_;ent waiver of the right to counsel:
    NIA

    There bain;;i no lave.I cause isoown by trta DM,;fidant, as requested, why judgmer;t ahouid r;ot bi& pronooncer.:l, e judgment Ir. h;;.~by
    entered against !tie Do;fendant on es.ct~ ch~rga &r:umerated, fines lt1vied, and court xsts asoo&s,;id. The Defendant w&s lldvl&i¥l of the
    conditions of the sentenca and/or pfacem<o•nt on probation and under~nds the conaequ£mcee of vlcfatlng thosa conditions. The Court
    retains jurisdk..-tion during !he p6riod of probf:lticn/l!.uispension and may change or set aside the cor,ditions of pobetioniftU:ipenwon for
    vioiatlons er ln!iura to 3atlsfy Dl:tpa1'lrnent of Cc.rnmunity Punishmr.mt rules and regulationi>.

    TOTAL NUMBER OF COUNTS: 3

    Ofren&e #: 1
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                                                                                                                    2010-.;.m
                                                                                                       Arr'l''!<t Tmc~;!nq ;~: :11713'-
    AC.A.# of Offense: 5-<14-401
    Name Of O~nse: MAMJrACTIJRE OF A SCHEDULE II CONTROLLED SIJBSTANC:t! (M~THAMPHETAMli'-l!E)
    S~riomsmrs:!! L9vet Of Offon5'3: 6
    Cn;-nlnal History Score: 3
    P11!'sumptJv9 Sen1enca: 108 f Pf!NJRPFJAS
    Sentence 1s a 0.9parturs from the ~nt5flClng grid: No
    Otf1'nsa Is a rl'lony
    C!aul1lcalion of Offense: A
    Period of Corrflnement           rnonthn.
    Suspended lmpor;itlon cf 3~nt$nc-.a .. : ____ rnonttis.
    PMod of ProO.it;nn: 60 mr;nth•; l.l d"1'1'!.
    Defendant is asslg1~ed to o~~nm1mt (;r Community ComJctlon and/or probation
    Spi>Clal coodltloos of conflMmEtnt fife al:tachi!d. No
    011fend4i1t _Y.._ atarnpt~::I ___ :Jo!:c!tad -·-· &0nepired to commit the of'fonM.
    C>r.enM Data: 3/312010
    Number of Counts: 1
    Commitment en this offen~e Is o rs~utt. of tt--e rnvocation of Defendant's probation or suspended lmpos!tfon of cantanca. No
    Age of the victim of the OffBnr:" If ha vr ~~ was under 18 years of age at the time the offun"e occurrod _ __
    Defendant voluntarily, ~'":teingil'ntly, snd kr>c-~'<i1~gly en;ered a
    _x_   niagotlm.-Jd pi•i.a rli gu!lty o: r.otc cc;nt,·H1dt1na.
    _    plea directly to th<! court of guitty or ndo contci:mclare.
    Defendant
    _entered a plea as ahovm above ar:d WiJS sentenced by a jury.
    _was found guilty of ssid <..harr;e(s) by L'1e court, and sentenced by_ the court_ .a jury.
    _wag found ouHty at a Jury trial, and &~mer.c9d by_ tha court_ a jury.
    _    D,Gfandant comr.iltted .a tM';o\ offsnSA and was sentenced under tlia Community Pu11!Wim1mt Act. Upon ~uCCHSful compl•tlon of
    too conditions of proba~on.IS.i.S. Defe1rd.:!\:1t shail be eligible to have his/her records ntlaled.
    Defendant was 3dntenc.ed i;vm•Jfl'il to lh":i Firot Offender Act(M. Cods 16-93--301 at seq.) !>¥0.
    !!!'9*-"'*~. . ::it~~;'l'l"\'4'.n'~•:l!l»>'lr.Z.:<'I"';b~;:t..."l'r~:r:t*:-·pst:CTION BELOVJ FOR COURT CLERK·s USE ONLY~ 11 ,...••!1i~··•s.. •UOfl:---•la"::9l!t'llf:a. . it~~.,-· ..~-
     _couRT Fl'...2; _AOC: _PA; ___ DEFT. ATTY; _DEFT; _SHERIFF; _DCC; _JRl\.'ER SERV (If 1.1pp~cablf1)

                                                                                                                         Pagfl 1 of 3




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                    Case 4:14-cr-00114-DPM                             Document 628                  Filed 06/27/16            Page 9 of 10
3ll/27i2015 14:09 FAX                    870 239 3550                       GHECNE CO.         CL~C(TIT       CLERK                            14! 053/063




                                                                   Defendant's Full Name: Stuart, W~lffy Kfivln
   --------------------
   O!fanse #: 1.                                                                            Dock.<tt #: CR 2!l11-430
                                                                                            ArrniJt rractdng 'Ii: 1i205a5
   A.C.A.# of OffanSlil; S-34-419
   Name Of Olhm~: POMU~ibl't cf Cunt Subz. - Scited 1111, Methamphetomln~ e;r CO<'l._!¢lrto o.i:> 2g c ~Og
   Sarious11~ L$vel Of O&r."6: 4
   Criminal HMory &::ors: 4
   Presumptive Sent&nce: 72. I rP\l!WRPFJAS
   S&ntence !11 a d&part>Jra from the :.ent.!mcing gnd: No
   Offum:.a ts s F~IOhY
   Cl88$lfication of OffenDe: C
   Petlod of Con1inememt:             monthe.
   SuapGnd&O lmpo&ticn of SeFT:unca .. : _ _ months.
   Period or Probatloo: eo moniti:;i o &3ytr.
   Defent'.ant Is sr,$)gned to °'5p1;1r".l111tnt of Community Cornctlon :.rndior ;>roi:'lililoo
   Special conditions of co••fir;emr:int aro atiachad. No
   Defenc!ant _ attr..mplad _ riolicnoo _ consplrad to commit the offsr.sa.
   Oi'fense Daw: 612~/2011
   Number of Counu.: i
   Commitment on thls o~ense Is a result of the revocation of DBfendant's probation or :su,..per.ded irnp.:i&itlon of sentence. No
   Age of the victim of the offemu:> If he or cl1a was under 18 yesrs of age at tha Ume the offense c.-ccurrod _ __
   Defondant voluntarily, lote!lig1:>11tly, Rr.C k:1owingly entered a
   _x_ n~!~ pll>J!' of gui!~j or no~o .:-011tend"11"'ll.
  _plea dirsctly to tr•a court of gunty or nolo contenders.
  DMondant
  _enter~ a pleil as ehown abovo Md waa sentence<! by a jury.
  _was ft.>und guilty cf 1'.a~d .;J-,arge{s) by the court, and sentanced by __ thb a1urt __ a Jury.
  __ was fo1~nd guirty at a jury 'rial. and sentenced by_ the court_ a jury.
  _ Da1'and;;int committed <> tar;1et ortans:s and .,.-as sentsr.ced under the Community Pur:lr;hmi.J.nt Act Upon auccs~Ju1 ccmplatlon of
  the condttil)fl<i of prcbanonis.:.s. Dafandsnt 11h.all be eligible to have his/h~r recorda setJ!~d.
  Di11ferxb.1t was sentsnced piwmant to !tie Fil'$! Offender Act(Ark. Code 10-93--301 ~t <S>XJ.) r.;,,,

                                                                                           Pcx:k""t t;: CR .'.lMi-420
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   A.C.A.# <1f Ofi'sm:e: ,;;;...;;.·~ij.4.J
   Name Of Off~nl'!-'Q: P<"""~::i~lon f.Yi Drug Pa~ph1;1rrudlA to lng•at. lnhah~, ei-:..
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   Cla$Pi!ication of Offense: C
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  Oaron<!c.mt is asslgnsd '.::- __.=__county jail _     [).9partment of Community Corr<K.'tior~ v1d;,,r probation _confinement unaar ~el
  ccneltlor."5.
  Sp..,!;!al cc.ndlliom1 of confin('rrmnt ?.rt< attachoo. No
  Defendant_ 3ttemplec.i _            St)1•.:1tBd _   conapirsd to commit thG cffenSF...
  Offense Date: 3125/21.l 11
  N1Jrnoor of Cotmts: 1
  Commf..moot on this a'ff1>11>1-0 ls ci ra<"ull of ths revoc.ation of Defendant's r,:robotlor. or e-m;~r.ded lmpo$.'tlCn of Mntence. No
  Ag~ of the v!ctim cf the cF.-s;it,~ !f ~e or 3he Wfl& vnder 18 years of age st trie tlmB ':he 01fanse occur.ea _ __
  Defendant volunrarlly, lr,la!l!gm1tt;, Pnd ~.ncwlngly snterod a
  __ nt:''.J"tlt!ted p~.e of guilty ::r nclo cc.nt0nd1.1rit.
  _     p!~d d!l'l;C!iy   to the couc. of gui 1ty Of 11010 ::onten::lere.
  DefenC.c~rrl
  __ ootsrod a p~~s as elicwr. ·"'f>C'!"' i>nc \.\<'3$ ;iooter.-csd by a jury.
  __ wa5 hmd guilty of e<:1!d cr'''1:'':{s) hy the court, ar>d :r.entencffd by_ the C\:Urt __ o jury.
  _ w~~ found guilty .:;ta )t ;r; •r!d. snd s;;\ntar:,..~<J.d by _the court_ a j1.1r;.
  _ l)n1\,noant commfil,.,.r} a ;,<.rg<0t otfonns and wa'lf. 1'1.'r:ttmce<l under the Cornrr.ur.lty Puniiohmont Act. Upol"l &Ucoe:;u;fu! ccmphlztloo ()~
  the cr.r.rlitlons of prob!oltlcr.tS.l.3. L:!m'fmdent "i°'aH t-e ni~lb!e to have r.1$1t:0r re:::ordoi »f;;aied.
  Defond21nt Wl!S &ent~r.01":<1 pL•:"SUEnt ti t"le> First Offond~r ..t..ct(AJ1(. Coc!e 113-93-30'1 et Mq.) No.

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                                                                        Defendant's tul> name : Stwu1, Wllitikty Knln


   Jall Tim& Credit:    o   da/s.
   Conditions of the dlspo&IX..n or probation are attached. Yor;
   A copy of the pre-;aantttnca lrwe.111\gatkm on llerrtenclng hrform~tlon, Inell.Kling but net limited to crlm!n&I h!story alementu Is atwchad.
   _Yn_No.
   Finl!l8                 CourtCosta $~00.00                      DNASampieF!!a(A.C.A.1:Z-i2-111B) !2!10.0!l
   Dn.ig Crime Special A~mMt (A.C.A. 12-17-106) $125.00            BooKJng ar.d Adr11ln. Fee (A.C.A. 12-4~-505) t20.0!i
   Publlc Defendeir User Fae (A.C.A. 18-87-213) $ 250.00 Probation Faes:$ 35.00

   A judgment of M!ltltution ls hereby enter&d agaln&t 1:ha Defendant in the amount and t,.rr.is as ahow below:
   Amount:                        Due imlT\OOietsly:                   Installments of: $ ~0.00 ~onthly ~in 1211/11
   Payrrnmt to oo made to: Gl'1Wln• Co. Sheriff'• OfflC$
   If ;nufjpie ben3\1claries, give names and !.!how p.ayment priority:

   Defendant v.'8s convicted nr, or has entered a plea of guilty or nolo oontend.ve to, a 'drug crime," as d&llned by AC.A 12-H-i01 IH
   1>'9q. Ytm

  Defondant has been adjudicated guUty of an cffer.se rsqulrtng registration as a oo:( offender, and Is crrlared to Cl':l'Tlplotq the Sex
  01Tencer Rttglstration Forro: No
  Dafendont adjudlcoted guiity of an offense re.:;•Jiring ~!stratlon as a sex offender has ooan adjudl~Wd guilty ot l.4 prior Mx offanta
  under a ;;>eparaie ~se numoar. No
  Def&r.dant !s all&<;ied to be a Sexually Vio~ent Predator, and Is ordered to undergo sn eva1u?llon at :!! l'aci!ify deslonat&d b'J tr.1:
  DepartrMnt of Corr&etlon puNJUant to A CA 12-12-81 8: No

  Defendant hes committed an aggravated :rex cffor~i:,0, as dfrl!ned in A.CA 12·12-903. No
  Dflfendent was edjudlcatad guilty of a felony o!Wnse, a mi!.d&meanor f>e;<.1.mi offsnM, or a roptist ot:'o.lnse (u Deflmid In A...C.A 12-12·
  1103), and Is ordered to have a DNA samps drawn ::it a D.C.C. facility YH

  Defemdant waa adjudicated ~uilty of a domeiatlc-vlolenca offence. _Y10-1 _X_ No
  If ysa, ldenttfy th.!! re!a~onship of tfl6 victim to the Daf"'ndant.
  If no, was Defondant orlglnalty charged with a dom.gstlc-vlO!ence related offsnse? _Yl'!la _x,__ No
  If yes, stata the name of the offanse - - - - - - - - - - - - - - - -

  Complstt:. c.utp:irl:l•l'lt dn1g couna.-lln9f~Un~ for 9 month• at &!f1tncl.rnt'a expnnu iW'ld pursuamt to arrung.JT:<';lnls marll!I by
  your prob:tt!Ol'I off!C1Jtr.


  Defendant was Informed of the right to apj:>afll: No
  Appeal Bor.d: $ NIA
  The County Shertt'f Is hereby ordered to _transport the Defendant to the County Jail or_ tai(" cu&Ql..*y of tho Defendant f.:ir ~~I
  to a Regloml Ccrrectlonal Facility.
  Defendal"t shall report to tha probat!cn officer for aF;;ignment of a repor:lng dat13 to a Rl!'i;;!onal Col'T&Ctiona! Facility.

                                                -                                                      ~-?             ~~--
  Date:      11107/11            ClrcultJudge: RANDY PHIL"""HOURS                         Signature: _ _..,l~~--~-+--0
                                                                                                                 ___/___
  I certify thi~ I?> a \:l"',ll) and .-:orract record of this Ccur.:.


  Date:    1117/11       Cl<CultCl"'1</Deputy,/~~);"-'-t___
  (Seal)


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